AO 245C-CAED (Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case
                         Case 2:11-cr-00234-TLN Document 386 Filed 05/30/14 (NOTE:
                                                                             PageIdentify
                                                                                   1 ofChanges
                                                                                          9 with Asterisks*)
                                           United States District Court
                                                     Eastern District of California

            UNITED STATES OF AMERICA                                             AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                 (For Offenses Committed On or After November 1, 1987)
                       v.
                                                                                 Case Number: 2:11CR00234-01
                 STEVEN ZINNEL

Date of Original Judgment: March 4, 2014                                         * Suzanne Luban, Retained
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                      [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances                               [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
    (Fed R. Crim. P. 35(b))                                                             Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))            [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                         Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[ ] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36              [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                        [ ] 18 U.S.C. §3559(c)(7),     [U] Modification of Restitution Order
THE DEFENDANT:
[]    pleaded guilty to count(s): .
[]    pleaded nolo contendere to counts(s)      which was accepted by the court.
[U]   was found guilty on counts 1, 2, 4-12, 15-17, and 18 of the Superseding Indictment after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                       Date Offense                     Count
Title & Section                             Nature of Offense                                          Concluded                        Number(s)
See next page.


        The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

[]         The defendant has been found not guilty on counts(s)        and is discharged as to such count(s).
[]         Count(s)      (is)(are) dismissed on the motion of the United States.
[U]        Indictment is to be dismissed by District Court on motion of the United States.
[U]        Appeal rights given.                        []       Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material
changes in economic circumstances.

                                                                                                    April 2, 2014
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judicial Officer

                                                                         TROY L. NUNLEY, United States District Judge
                                                                         Name & Title of Judicial Officer

                                                                                                       May 30, 2014
                                                                         Date
AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal
                   Case 2:11-cr-00234-TLN                    Case
                                                          Document 386   Filed 05/30/14 Page 2 of 9
CASE NUMBER:             2:11CR00234-01                                                               Judgment - Page 2 of 9
DEFENDANT:               STEVEN ZINNEL
                                                                                 Date Offense          Count
Title & Section                  Nature of Offense                               Concluded             Numbers

18 U.S.C. §152(7)                Bankruptcy Fraud (CLASS D FELONY)                07/20/2005            1
18 U.S.C. §152(1)                Bankruptcy Fraud (CLASS D FELONY)                09/06/2006            2
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                12/27/2006            4
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                10/04/2007            5-6
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                10/09/2007            7
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                12/28/2007            8
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                02/14/2008            9
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                04/01/2008            10
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                06/12/2008            11
18 U.S.C. §1956(a)(1)(B)(i)      Money Laundering (CLASS C FELONY)                07/07/2008            12
18 U.S.C. §1957                  Transactions in Criminally Derived Property      01/10/2007            15
                                 (CLASS C FELONY)
18 U.S.C. §1957                  Transactions in Criminally Derived Property      03/21/2007            16
                                 (CLASS C FELONY)
18 U.S.C. §1957                  Transactions in Criminally Derived Property      08/28/2007            17
                                 (CLASS C FELONY)
18 U.S.C. §1956(h)               Money Laundering Conspiracy                      03/02/2009            18
                                 (CLASS C FELONY)
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
                   Case 2:11-cr-00234-TLN                 Document 386 Filed 05/30/14 Page 3 of 9
CASE NUMBER:               2:11CR00234-01                                                                Judgment - Page 3 of 9
DEFENDANT:                 STEVEN ZINNEL

                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of 60
months on each of Counts 1 and 2, 212 months on each of Counts 4-12, and 120 months on each of Counts 15-17, and 18,
all to run concurrently to each other, for a TOTAL TERM of 212 months.



[]       No TSR: Defendant shall cooperate in the collection of DNA.

[U]      The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the defendant be incarcerated at FCI Terminal Island, California, but only insofar as
         this accords with security classification and space availability. The Court recommends the defendant participate in
         the RDAP Drug Treatment Program.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                 Deputy U.S. Marshal
AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release Document 386
                   Case 2:11-cr-00234-TLN                                        Filed 05/30/14 Page 4 of 9
CASE NUMBER:                2:11CR00234-01                                                                              Judgment - Page 4 of 9
DEFENDANT:                  STEVEN ZINNEL


                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months on each of Counts 1, 2, 4-12, 15-
17 and 18, all to run concurrently to each other, for a total term of 36 months.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
         seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
         she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm
      the defendant's compliance with such notification requirement.
AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release Document 386
                   Case 2:11-cr-00234-TLN                               Filed 05/30/14 Page 5 of 9
CASE NUMBER:            2:11CR00234-01                                                                Judgment - Page 5 of 9
DEFENDANT:              STEVEN ZINNEL


                              SPECIAL CONDITIONS OF SUPERVISION
        1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
             States probation officer, or any other authorized person under the immediate and personal
             supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
             Failure to submit to a search may be grounds for revocation. The defendant shall warn any
             other residents that the premises may be subject to searches pursuant to this condition.

        2.   The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
             restitution order by this Judgment is paid in full, unless the defendant obtains approval of the
             Court or the probation officer.

        3.   The defendant shall provide the probation officer with access to any requested financial
             information.

        4.   The defendant shall not open additional lines of credit without the approval of the probation
             officer.

        5.   The defendant shall apply all monies received from income tax refunds, lottery winnings,
             inheritance, judgments and any anticipated or unexpected financial gains to any unpaid
             restitution ordered by this Judgment.

        6.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
             treatment program to obtain assistance for drug or alcohol abuse.

        7.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
             breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

        8.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
             places where alcohol is the chief item of sale.

        9.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
             treatment or testing and shall make payment directly to the vendor under contract with the
             United States Probation Office of up to $25 per month.
                    Case Sheet
AO 245B-CAED (Rev. 09/2011) 2:11-cr-00234-TLN              Document 386
                               5 - Criminal Monetary Penalties             Filed 05/30/14 Page 6 of 9
CASE NUMBER:               2:11CR00234-01                                                                  Judgment - Page 6 of 9
DEFENDANT:                 STEVEN ZINNEL


                                      CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                               Assessment                     Fine                Restitution
      Totals:                                   $ 1,500.00                $ 500,000.00         * $ 2,513,319.00


[]    The determination of restitution is deferred until   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
      all nonfederal victims must be paid before the United States is paid.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                    Case Sheet
AO 245B-CAED (Rev. 09/2011) 2:11-cr-00234-TLN              Document 386
                               5 - Criminal Monetary Penalties             Filed 05/30/14 Page 7 of 9
CASE NUMBER:              2:11CR00234-01                                                                Judgment - Page 7 of 9
DEFENDANT:                STEVEN ZINNEL



Name of Payee                               * Total Loss          * Restitution Ordered Priority or Percentage
First Bank                                  $156,663.27                $156,663.27
c/o Douglas Kraft
7509 Madison Avenue, Suite111
Citrus Heights, CA 95610

Michelle Zinnel                             $305,058.28                   $305,058.28
c/o Dudugjian and Maxey
13 Sierra Gate Plaza, Bldg. B
Roseville, CA 95678

Zac Zinnel                                  $150,000.00                   $150,000.00
Attention: Dawn Akel
Akel Fiduciary Services
P.O. Box 582603
Elk Grove, CA 95758

Zayna Zinnel                                $150,000.00                   $150,000.00
Attention: Dawn Akel
Akel Fiduciary Services
P.O. Box 582603
Elk Grove, CA 95758

Fog Cutter Services                         $10,799.35                    $10,799.35
P.O. Box 2665
Portland, OR 97208-2665

Wells Fargo Card Services                    $8,506.17                     $8,506.17
P.O. Box 9210
Des Moines, IA 50306

Travelers Casualty and Surety Co.           $286,000.00                   $286,000.00
Attention: Michelle Smith Cotto
1 Tower Square 4PB
Hartford, CT 06183

Arrow Financial Services                      $141.50                      $141.50
P.O. Box 3001
Malvern, PA 19355-0701

MBNA America Bank                            $3,641.15                     $3,641.15
P.O. Box 15168 MS 1423
Wilmington, DE 19060

General Insurance Company
    of America                              $866,803.83                   $866,803.83
c/o James D. Curran
555 Montgomery Street #1100
San Francisco, CA 94111


First National Insurance Company
      of America                            $569,502.65                   $569,502.65
c/o James D. Curran


  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                    Case Sheet
AO 245B-CAED (Rev. 09/2011) 2:11-cr-00234-TLN              Document 386
                               5 - Criminal Monetary Penalties              Filed 05/30/14 Page 8 of 9
CASE NUMBER:              2:11CR00234-01                                                                       Judgment - Page 8 of 9
DEFENDANT:                STEVEN ZINNEL

555 Montgomery Street #1100
San Francisco, CA 94111

Safeco Insurance Company
     of America                                $6,202.80                    $6,202.80
c/o James D. Curran
555 Montgomery Street #1100
San Francisco, CA 94111

      TOTALS:                                *$2,513,319.00              *$2,513,319.00

[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[U]      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [U] The interest requirement is waived for the          [U] fine           [ ] restitution

      [ ] The interest requirement for the          [ ] fine [ ] restitution is modified as follows:




[U] If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[U] If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                    Case Sheet
AO 245B-CAED (Rev. 09/2011) 2:11-cr-00234-TLN
                               6 - Schedule of Payments     Document 386 Filed 05/30/14 Page 9 of 9
CASE NUMBER:               2:11CR00234-01                                                                            Judgment - Page 9 of 9
DEFENDANT:                 STEVEN ZINNEL

                                              SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $           due immediately, balance due

           []     not later than  , or
           []     in accordance with          [ ] C,      [ ] D,   [ ] E, or   [ ] F below; or

B    [U]          Payment to begin immediately (may be combined with           [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of             (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within     (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[U] The defendant shall forfeit the defendant’s interest in the following property to the United States: The Preliminary Order
    of Forfeiture filed on September 20, 2013, shall be incorporated into this Judgment.
